     Case 8:22-cv-00099-DOC-DFM Document 164-2 Filed 03/03/22 Page 1 of 2 Page ID
                                      #:2283


 1   OFFICE OF GENERAL COUNSEL
     U.S. HOUSE OF REPRESENTATIVES
 2
     5140 O’Neill House Office Building
 3   Washington, D.C. 20515
 4   SHER TREMONTE LLP
     90 Broad Street, 23rd Floor
 5   New York, New York 10004
 6
     ARNOLD & PORTER
 7   601 Massachusetts Ave, NW
     Washington, D.C. 20001
 8
 9
     Counsel for the Congressional Defendants
10
11                          UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
        JOHN C. EASTMAN                         Case No. 8:22-cv-00099-DOC-DFM
15

16                 Plaintiff,                   DECLARATION OF DOUGLAS N.
                                                LETTER IN SUPPORT OF
17      vs.                                     CONGRESSIONAL DEFENDANTS’
                                                OPPOSITION TO PLAINTIFF’S
18      BENNIE G. THOMPSON, et al.,             PRIVILEGE ASSERTIONS
19
                   Defendants.                  Date:     March 8, 2022
20                                              Time:     9:00 a.m.
                                                Location: Courtroom 9D
21

22
23
24
25
26
27

28



                        DECLARATION OF DOUGLAS N. LETTER
     Case 8:22-cv-00099-DOC-DFM Document 164-2 Filed 03/03/22 Page 2 of 2 Page ID
                                      #:2284


 1 I, Douglas N. Letter, declare as follows:
 2         1.    I am the General Counsel, of the U.S. House of Representatives and counsel
 3 for the Congressional Defendants in this action.

 4         2.    I make this declaration in support of the Congressional Defendants’
 5 Opposition to Plaintiff’s Privilege Assertions.
 6         3.    Attached hereto as Exhibit 1 are true and accurate copies of email messages
 7 between myself and Plaintiff’s counsel, Charles Burnham, that occurred on Monday,
 8 January 31, 2022 at 4:06p EST, Thursday, February 3, 2022 at 7:13p EST, and Tuesday,
 9 February 8, 2022 at 3:05p EST.

10         I declare under penalty of perjury that the foregoing is true and correct, to the best
11 of my knowledge.
12
13 Executed on March 2, 2022, in Bethesda, Maryland.
14
15
                                                          /s/ Douglas N. Letter
                                                          Douglas N. Letter
16
17
18
19
20
21

22
23
24
25
26
27

28

                         DECLARATION OF DOUGLAS N. LETTER
